       Case 1:01-cv-12257-PBS Document 6579-2 Filed 10/07/09 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

In re: PHARMACEUTICAL INDUSTRY                  )
AVERAGE WHOLESALE PRICE                         )
LITIGATION                                      )        MDL No. 1456
_____________________________________ )                  Civil Action No. 01-12257-PBS
                                                )        Subcategory No. 06-11337
THIS DOCUMENT RELATES TO:                       )
United States of America ex rel. Ven-a-Care of )         Judge Patti Saris
The Florida Keys, Inc., v. Abbott Laboratories, )        Magistrate Judge Marianne Bowler
Inc.,                                           )        DRAFT - Oct. 6, 2009 - 1:30 p.m.
CIVIL ACTION NO. 06-11337-PBS                   )



                                            [Proposed]
                                             ORDER

       Upon consideration of the Motion by the United States to Quash Out-of-Time Deposition

Notices Served by Abbott Laboratories or, in the Alternative, for a Protective Order, it is hereby

ORDERED by the COURT that the foregoing motion is

       GRANTED, and it is further

       ORDERED that the deponents named or called for in the deposition notices served by

Abbott Laboratories on September 30, 2009 in the above-captioned action shall not be required to

appear for deposition.



Date: ________                                _____________________________
                                              United States District Court
